         Case 4:17-cv-01988-KOB Document 11 Filed 06/14/18 Page 1 of 1                     FILED
                                                                                  2018 Jun-14 AM 07:32
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION

MISTY HOOD,                ]
                           ]
     Plaintiff,            ]
                           ]
v.                         ]                            CIVIL ACTION NO.:
                           ]                             4:17-CV-1988 KOB
                           ]
HOLLOWAY CREDIT SOLUTIONS, ]
LLC,                       ]
     Defendant.            ]
                           ]


                             ORDER OF DISMISSAL

      The court, having been advised that a settlement has been reached, dismisses

this case without prejudice to reinstatement if any party represents to the court on

or before Monday, August 13, 2018, that final settlement documentation could not

be completed.

      DONE and ORDERED this 14th day of June, 2018.


                                    ____________________________________
                                    KARON OWEN BOWDRE
                                    CHIEF UNITED STATES DISTRICT JUDGE




                                      Page 1 of 1
